AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

 

for the
Western District of Texas
United States of America

v. )
) Case No. 1:21-mj-935-ML °

)

FRANKLIN BARRETT SECHRIEST )

)

)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) FRANKLIN BARRETT SECHRIEST >
who is accused of an offense or violation based on the following document filed with the court:

1 Indictment (4 Superseding Indictment ©) Information © Superseding Information we Complaint
[ Probation Violation Petition (1 Supervised Release Violation Petition Violation Notice © Order of the Court

This offense is briefly described as follows:

Arson, in violation of 18 U.S.C. § 844(i).

Issuing r's signature

City and state: _ Austin, Texas MARK LANE, United States Magistrate Judge

Printed name and title

 

Return

 

This warrant was received on (date) _/{-[2-ZoZ/ __, and the person was arrested on (date) _f) -/2- Z2OZ{
at (city and state) ASSTIW, Ty .

Date: //-12- 20 2/ -
Arresting officer's signature .
Thouns Sey Jl. $e F6r

Printed nanfe and title

 

 

 

 
